
SWING, J.
The demurrer to the amended petition should have been sustained for the reason that no cause of action is stated against the insurance company.
There is no cause of action stated on the insurance policies. Nor is there any statement that there was a settlement between the parties, and an account agreed upon in the settlement of any claim or claims. There is a statement about a check, but there is no allegation that it ever became the property of Mrs. Simmons, and that the company converted it to its own use. Finally there is an allegation that Str'eng, the defendant, or some other person, the agent of the company, owes her the amount claimed in the petition. This is not an allegation that any one in particular owes plaintiff anything. Án allegation that A., B. or C. owe anything is not an allegation that either owes anything.
The demurrer should have been sustained. For failure to do so the judgment should be reversed and the cause remanded for further proceedings.
